	NO. 07-11-0224-CR
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	JUNE 17, 2011
	______________________________

	EARNEST MANLEY,

Appellant

	v.

	THE STATE OF TEXAS,

Appellee
	_________________________________

	FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;

	NO. 98-427550; HON. JIM BOB DARNELL, PRESIDING
	_______________________________

	Order of Dismissal
	_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Earnest Manley, appellant, attempts to appeal his conviction for aggravated robbery.  The court imposed sentence on November 6, 1998.  His notice of appeal was filed on May 6, 2011.  We dismiss for want of jurisdiction.

To be timely, a notice of appeal must be filed within thirty days after the sentence is imposed or suspended in open court or within ninety days after that date if a motion for new trial is filed.  Tex. R. App. P. 26.2(a).  Therefore, the notice of appeal was due on December 7, 1998.  
A timely filed notice of appeal is essential to invoke our appellate jurisdiction.  Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996).  If it is untimely, we can take no action other than to dismiss the proceeding.  Id. at 523.  Appellant's notice being untimely filed, we have no jurisdiction over the matter and dismiss the appeal.
Accordingly, appellants appeal is dismissed.

Brian Quinn 
       Chief Justice 



Do not publish.
